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                                       9   Attorneys for Defendant
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                                      10

                                      11                           IN THE UNITED STATES DISTRICT COURT FOR THE

                                      12                                  EASTERN DISTRICT OF CALIFORNIA
             Sacramento, California
B ARTH D ALY LLP




                                      13
                Attorneys At Law




                                      14   UNITED STATES OF AMERICA,                            ) Case No. 2:12-CR-00315 JAM
                                                                                                )
                                      15                   Plaintiff,                           ) STIPULATION AND ORDER
                                                                                                )
                                      16            v.                                          )
                                                                                                )
                                      17   LAWRENCE LOOMIS,                                     )
                                      18                   Defendant.                           )
                                                                                                )
                                      19

                                      20                                                STIPULATION
                                      21            Defendant, by and through defendant’s counsel of record, and Plaintiff United States of
                                      22   America, by and through its counsel of record, hereby stipulate as follows:
                                      23            1.     July 19, 2016 is the date currently set for sentencing in the above captioned matter.
                                      24   The defense wishes to advance the sentencing date by one week to July 12, 2016.
                                      25            2.     The parties agree the length of time to file informal objections will be shortened by
                                      26   one week. The schedule will be as follows:
                                      27            June 7, 2016          Draft PSR will be disclosed to all counsel.
                                      28            June 14, 2016         Informal objections due.
                                           {00019062}
                                           ____________________________________________________________________________________________________________
                                           Stip and [Proposed] Order re Sentencing                                                    2:12-CR-0315 JAM
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                                       1            June 21, 2016         Final PSR due.

                                       2            June 28, 2016         Formal objections due.

                                       3            July 5, 2016          Reply briefs/statements [if any] due.

                                       4            July 12, 2016         Sentencing hearing.

                                       5            3.     Probation Officer Shannon Morehouse is aware of the proposed schedule and has no

                                       6   objection.

                                       7            IT IS SO STIPULATED

                                       8   Dated: June 8, 2016

                                       9                                                  by: /s/ Kresta Daly for
                                                                                          PAUL HEMESATH
                                      10                                                  Assistant U.S. Attorney
                                      11                                                  Attorney for Plaintiff

                                      12
                                           Dated: June 8, 2016                            /s/ Kresta Daly
             Sacramento, California
B ARTH D ALY LLP




                                      13
                Attorneys At Law




                                                                                          KRESTA DALY
                                                                                          Attorney for Defendant
                                      14                                                  LAWRENCE LELAND LOOMIS
                                      15
                                                                                           ORDER
                                      16

                                      17
                                            IT IS SO ORDERED this 8th day of June, 2016
                                      18
                                                                                          /s/ John A. Mendez________________________
                                      19
                                                                                          UNITED STATES DISTRICT COURT JUDGE
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                                      22

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                                           {00019062}
                                           ____________________________________________________________________________________________________________
                                           Stip and [Proposed] Order re Sentencing                                                    2:12-CR-0315 JAM
